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                      EXHIBIT A
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February 22, 2024


Lordstown Motor Corporation
Melissa Leonard
38555 Hills Tech Drive
Farmington Hills MI 48331


           Re: Lordstown Motor Corporation
               USBC Case No. 23-10831


Dear Melissa Leonard:

Enclosed please find Kurtzman Carson Consultants' ("KCC") invoice for the period January 1, 2024 to January
31, 2024 in the amount of $2,268.57 for the above referenced matter. Pursuant to our services agreement,
KCC's invoice is due upon receipt.

If you have any questions, please contact me at (310) 751-1803 or egershbein@kccllc.com.


Sincerely,
Kurtzman Carson Consultants LLC




Evan Gershbein
EVP Restructuring




Enclosures




Kurtzman Carson Consultants LLC 222 N Pacific Coast Hwy, El Segundo, CA, 90245 Phone 310-823-9000 Fax 310-823-9133 kccllc.com
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  February 22, 2024


  Copy Parties
  Morgan L. Patterson
  Womble Bond Dickinson (US) LLP
  1313 North Market Street, Suite 1200
  Wilmington DE 19801

  Fan B. He
  White & Case LLP
  200 South Biscayne Boulevard, Suite 4900
  Miami FL 33131

  David M. Turetsky
  White & Case, LLP
  1221 Avenue of the Americas
  New York NY 10020

  Benjamin Hackman
  Office of the United States Trustee Delaware
  844 King St Ste 2207
  Lockbox 35
  Wilmington DE 19801

  David M. Fournier
  Troutman Pepper Hamilton Sanders LLP
  Hercules Plaza, Suite 5100
  1313 N. Market Street
  Wilmington DE 19801

  Marcy J. McLaughlin Smith
  Troutman Pepper Hamilton Sanders LLP
  Hercules Plaza, Suite 5100
  1313 N. Market Street
  Wilmington DE 19801

  Francis J. Lawall
  Troutman Pepper Hamilton Sanders LLP
  3000 Two Logan Square 18th & Arch Streets
  Philadelphia PA 19103-2799

  Michael Port
  38555 Hills Tech Drive
  Farmington Hills MI 48331



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  February 22, 2024


  Copy Parties
  Amanda Ciccone
  38555 Hills Tech Drive
  Farmington Hills MI 48331

  Kathy McDougall
  38555 Hills Tech Drive
  Farmington Hills MI 48331

  Deborah Kovsky-Apap
  Troutman Pepper Hamilton Sanders LLP
  875 Third Avenue
  New York NY 10022




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                                                                          Kurtzman Carson Consultants LLC

  Account Number                                   71001FA                                                                              Invoice Date                   February 22, 2024

  Invoice Number                                   US_KCC2669470                                                                        Due Date                       Due upon receipt



                                                                                           Lordstown Motor Corporation
                                                                                                           Summary


                                                                              Description                                                    Amount

                                                               Hourly Fees
                                                               Hourly Fees Charged                                                                     $2,268.57

                                                               Total of Hourly Fees                                                                    $2,268.57


                                                               Expenses
                                                               Expenses                                                                                      $0.00

                                                               Total Expenses                                                                                $0.00


                                                               Invoice Subtotal                                                                        $2,268.57
                                                               Sales and Use Tax                                                                               0.00

                                                               Total Invoice                                                                         $2,268.57




____   ____   ____   ____   ____   ____   ____   ____   ____    ____
                                                                        Please
                                                                       ____
                                                                                detach and return this portion of the statement with your check to KCC.
                                                                           ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____   ____

                                                                       Please reference your Account Number and Invoice Number on your Remittance.


Account Number                                                     71001FA                         Check Payments to:                                      Wire Payments to:

Invoice Number                                      US_KCC2669470                                  KCC Global Administration - Restructuring               KCC Global Administration - Restructuring
                                                                                                   Department 2211                                         Grasshopper Bank, N.A.
Total Amount Due                                                  $2,268.57
                                                                                                   PO Box 4110                                             261 5th Avenue Suite 610
                                                                                                   Woburn, MA 01888-4110                                   New York, NY 10016
Amount Paid                                $
                                                                                                                                                           Account # 02329451396
                                                                                                                                                           FED ABA # 026015024
US_KCC2669470 Lordstown Motor Corporation                                                                                                                                                      Page 4 of 7
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                                            Kurtzman Carson Consultants LLC
                                                      01/01/2024 - 01/31/2024
                                                  Total Hourly Fees by Employee

Initial       Employee Name                                            Position Type    Hours          Rate          Total
AAE           Andres Estrada                                           SOL                9.90       $201.75      $1,997.32
EAG           Esmeralda Aguayo                                         SOL                1.40       $193.75       $271.25


                                                                                          Total                $2,268.57




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                                              Kurtzman Carson Consultants LLC
                                                                       01/01/2024 - 01/31/2024

                                                                                  Time Detail

    Date       Employee                                            Description                                  Position Type       Category         Hours
   1/3/2024       AAE      Review draft voting certification and prepare comments                                    SOL             Solicitation        2.20


                                                                                                                     Total for 1/3/2024                 2.20
   1/4/2024       AAE      Review late filed ballots in CaseView                                                     SOL             Solicitation        0.20


                                                                                                                     Total for 1/4/2024                 0.20
   1/9/2024       AAE      Review late filed ballots in CaseView                                                     SOL             Solicitation        0.60
   1/9/2024       AAE      Prepare updated voting and detail reports                                                 SOL             Solicitation        2.30
   1/9/2024       AAE      Coordinate administrative quality control review of late filed ballots                    SOL             Solicitation        0.30
   1/9/2024       EAG      Assist with generating Voting Reports                                                     SOL             Solicitation        0.80
   1/9/2024       EAG      Administrative quality control review of ballots input into KCC CaseView                  SOL             Solicitation        0.60


                                                                                                                     Total for 1/9/2024                 4.60
   1/10/2024      AAE      Review and resolve duplicate ballots in CaseView                                          SOL             Solicitation        0.10


                                                                                                                     Total for 1/10/2024                0.10
   1/28/2024      AAE      Review revised draft voting declaration from counsel                                      SOL             Solicitation        0.30
   1/28/2024      AAE      Prepare tabulation and detail report exhibits for voting declaration                      SOL             Solicitation        2.80


                                                                                                                     Total for 1/28/2024                3.10
   1/29/2024      AAE      Prepare opt out detail report                                                             SOL             Solicitation        0.50
   1/29/2024      AAE      Quality control review of final exhibits for voting declaration                           SOL             Solicitation        0.60


                                                                                                                     Total for 1/29/2024                1.10

                                                                                                                     Total Hours                      11.30




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                                            Kurtzman Carson Consultants LLC
                                                    01/01/2024 - 01/31/2024
                                                          Expenses
Description                                                                     Units               Rate   Amount



                                                                                        Total Expenses




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